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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
                                                                                                  11/9/2020
UNITED STATES OF AMERICA,                                                       CONSENT TO PROCEED BY VIDEO OR
                                                                                TELE CONFERENCE
                             -against-
                                                                                20 Cr. 557
Alvin Forde

                                                 Defendant(s).
-----------------------------------------------------------------X

Defendant Alvin Forde hereby voluntarily consents to participate in the following proceeding
via _X_ videoconferencing or _X_ teleconferencing:

_X_      Initial Appearance Before a Judicial Officer

_X_      Arraignment (Note: If on Felony Information, Defendant Must Sign Separate Waiver of
         Indictment Form)

_X_      Bail/Detention Hearing

_X_      Conference Before a Judicial Officer



_/s/ Alvin Forde by Clay Kaminsky                                    _/s/ Clay Kaminsky
Defendant’s Signature                                                Defendant’s Counsel’s Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)

_Alvin Forde                                                         _Clay Kaminsky
Print Defendant’s Name                                               Print Counsel’s Name


This proceeding was conducted by reliable video or telephone conferencing technology.

 11/9/2020
___________________                                                  _________________________________
Date                                                                 U.S. District Judge/U.S. Magistrate Judge
